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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE
                                                                 )
In re:                                                           ) Chapter 11
                                                                 )
CENTER CITY HEALTHCARE, LLC d/b/a                                )
HAHNEMANN UNIVERSITY HOSPITAL, et al.,1                          ) Case No. 19-11466 (KG)
                                                                 )
                                   Debtors.                      ) Jointly Administered
                                                                 )

         NOTICE OF AGENDA FOR HEARING SCHEDULED FOR FEBRUARY 18, 2020
                AT 9:30 A.M. (PREVAILING EASTERN TIME) BEFORE THE
            HONORABLE KEVIN GROSS, U.S. BANKRUPTCY COURT JUDGE2,3

  CONTINUED MATTERS:

  1.       Motion of Achintya Moulick, MD for Allowance and Payment of an Administrative
           Claim Pursuant to 11 U.S.C. § 503(b) [D.I. 1081; filed: 12/03/19]

           Response Deadline: December 17, 2019 at 4:00 p.m.; extended to January 16, 2020 at
           4:00 p.m. for the Debtors.

           Responses Received:

           A.      Debtors’ Objection [D.I. 1326; filed: 01/16/20]

           B.      Official Committee of Unsecured Creditors’ Joinder in the Debtors’ Objection
                   [D.I. 1329; filed: 01/16/20]

           Related Documents: None

           Status: Subject to Court approval, the parties have resolved this contested matter. This
                   matter is continued pending documentation and presentation of the settlement.

  1
           The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
           number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
           Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
           PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
           Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
           Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
           (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
           230 North Broad Street, Philadelphia, Pennsylvania 19102.
  2
           The hearing will be held at the United States Bankruptcy Court for the District of Delaware, 824 Market
           Street, 6th Floor, Courtroom 3, Wilmington, Delaware 19801.
  3
           Parties who are unable to attend a hearing may request telephonic participation by contacting CourtCall toll
           free by phone (866-582-6878) or by facsimile (866-533-2946).



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2.      Motion of St. Christopher’s Hospital for Children Medical Staff Members for
        (I) Allowance and Immediate Payment of Administrative Claims and (II) Relief from the
        Sale Order Pursuant to Federal Rule of Civil Procedure 60(b) [D.I. 1088; filed: 12/05/19]

        Response Deadline: January 16, 2020 at 4:00 p.m.; extended for the Debtors and STC
        OpCo, LLC to the date that is seven days prior to the next omnibus hearing date.

        Responses Received: None to date

        Related Documents: None to date

        Status: This matter is continued to a date to be determined.

3.      Motion to Compel Assumption or Rejection of Unexpired Leases filed by People’s
        Capital and Leasing Corp. [D.I. 1272; filed: 01/02/20]

        Response Deadline: January 16, 2020 at 4:00 p.m.; extended for the Debtors to the date
        that is seven days prior to the next omnibus hearing date.

        Responses Received:

        A.       Informal comments from the Debtors

        Related Documents: None

        Status: This matter is continued to a date to be determined.

4.      Motion of Medline Industries Holdings, L.P. for Allowance and Immediate Payment of
        Administrative Expense Claims Under 11 U.S.C. § 503 [D.I. 1307; filed: 01/09/20]

        Response Deadline: January 16, 2020 at 4:00 p.m.

        Responses Received:

        A.       Debtors’ Objection [D.I. 1325; filed: 01/16/20]

        Related Documents: None

        Status: This matter is continued to a date to be determined.

RESOLVED MATTER:

5.      Seventh Omnibus Motion of the Debtors for Entry of an Order Authorizing the Rejection
        of Certain Executory Contracts and Unexpired Leases [D.I. 1137; filed: 12/11/19]

        Response Deadline: December 26, 2019 at 4:00 p.m.; extended to January 16, 2020 at
        4:00 p.m. for Achintya Moulick, M.D.



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        Responses Received:

        A.       Achintya Moulick, MD’s Response [D.I. 1328; filed: 01/16/20]

        Related Documents:

        A.       Certification of Counsel Regarding (A) Revised Proposed Order Approving
                 Seventh Omnibus Motion of the Debtors for Entry of an Order Authorizing the
                 Rejection of Certain Executory Contracts and Unexpired Leases and (B) No
                 Objection to Same [D.I. 1385; filed: 02/03/20]

        B.       Order Approving Seventh Omnibus Motion of the Debtors for Entry of an Order
                 Authorizing the Rejection of Certain Executory Contracts and Unexpired Leases
                 [D.I. 1387; signed and docketed: 02/04/20]

        Status: On February 4, 2020, the Court entered an order approving regarding this motion.

MATTERS GOING FORWARD:

6.      Motion of the United States to Lift the Automatic Stay to Permit Setoff [D.I. 1250; filed:
        12/27/19]

        Response Deadline: January 10, 2020 at 4:00 p.m.

        Responses Received:

        A.       Debtors’ Limited Objection [D.I. 1313; filed: 01/10/20]

        B.       Official Committee of Unsecured Creditors’ Joinder in the Debtors’ Limited
                 Objection [D.I. 1314; filed: 01/10/20]

        Reply:

        C.       United States’ Reply in Support of Its Motion to Lift the Automatic Stay to
                 Permit Setoff [D.I. 1330; filed: 01/17/20]

        Status: This matter is going forward.




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Dated: February 13, 2020                 SAUL EWING ARNSTEIN & LEHR LLP

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